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                                   UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF OHIO
                                         WESTERN DIVISION

    Preterm-Cleveland, et al.,                            :
                                                          :
                     Plaintiffs,                          : Case No. 1:19-cv-00360
                                                          :
                     vs.                                  : Judge Michael R. Barrett
                                                          :
    Attorney General of Ohio, et al.,                     :
                                                          :
                     Defendants.                          :
                                                          :
                                                          :

                                                    ORDER

           This matter is before this Court the Motion for Judgment on the Pleadings and

Permanent Injunction filed by Plaintiffs. (Doc. 31). Defendants filed a Response in

Opposition (Doc. 35), and Plaintiffs filed a Reply (Doc. 36). 1

           In April 2019, the Ohio General Assembly passed Senate Bill 23, also known as

the "Heartbeat Protection Act" ("the Ohio Act"), and Governor Mike DeWine signed the

bill into law. The Ohio Act, in a nutshell, bans abortion care at and after approximately six

weeks in pregnancy. Before the Ohio Act took effect, this Court preliminarily enjoined

Defendants from enforcing or complying with the Act pending further Order of this Court.

(Doc. 29). In doing so, this Court concluded that the Ohio Act places an undue burden on

a woman’s right to choose a pre-viability abortion, and, under Planned Parenthood of

Southeastern Pa. v. Casey, 505 U.S. 833 (1992), Plaintiffs are certain to succeed on the

merits of their claim. (Doc. 29). That preliminary injunction remains in effect in this matter.




1   This Court also permitted amicus curiae to file a brief. (Doc. 86).
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       In June 2020, the United States Supreme Court ("Supreme Court") issued June

Medical Services L.L.C. v. Russo, 140 S. Ct. 2103 (2020), wherein a majority of the

Supreme Court held that that abortion providers have standing to assert constitutional

rights on behalf of their patients when challenging abortion-related laws and regulations.

Id. at 2120. Additionally, five justices—Justice Breyer, Justice Ginsburg, Justice

Sotomayor, Justice Kagan (plurality), and Chief Justice Roberts (concurring)—struck

down a Louisiana law requiring abortion providers to have admitting privileges at a local

hospital as an unconstitutional substantial burden on women seeking a pre-viability

abortion. Id. at 2132, 2142.

       Two different three-judge panels from the United States Court of Appeals for the

Sixth Circuit ("Sixth Circuit") appear to disagree on the impact, if any, of the plurality

opinion in June Medical on the undue burden test that courts apply in deciding challenges

to abortion-related laws and regulations. Compare Bristol Reg'l Women's Ctr., P.C. v.

Slatery, No. 20-6267, 2021 WL 650893 (6th Cir. Feb. 19, 2021), with EMW Women's

Surgical Ctr., P.S.C. v. Friedlander, 978 F.3d 418 (6th Cir. 2020).

       Currently pending before the en banc Sixth Circuit is Preterm-Cleveland v. Himes,

No. 18-3329 (6th Cir. filed April 12, 2018). In that case, a "panel of the Sixth Circuit

addressed a challenge to an Ohio law prohibiting abortion providers from performing an

abortion with the knowledge that the decision to abort arises from a diagnosis or indication

that the unborn child has Down syndrome." Memphis Ctr. for Reprod. Health v. Slatery,

No. 3:20-CV-00501, 2020 WL 4274198, at *16 (M.D. Tenn. July 24, 2020) (citing Preterm-

Cleveland v. Himes, 940 F.3d 318 (6th Cir. 2019)). "The panel held the statute operated

as an unconstitutional ban on pre-viability abortions in violation of Casey." Id. "A majority



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of Sixth Circuit judges subsequently voted for rehearing en banc and vacated the panel

opinion." Id. (citing 944 F.3d 630 (6th Cir. 2019)). The full Court heard oral argument in

that matter on March 11, 2020, i.e., before the Supreme Court's decision in June Medical.

Preterm-Cleveland v. Himes, No. 18-3329, Doc. 118. That matter remains pending before

the full Court.

       Also pending before the Sixth Circuit, though not the full Court, is Memphis Ctr. for

Reprod. Health v. Slatery, No. 20-5969 (6th Cir. filed Aug. 24, 2020). In that case, a district

judge on the U.S. District Court for the Middle District of Tennessee preliminarily enjoined

the defendants from enforcing a Tennessee law that, among other things, bans abortion

care at and after approximately six weeks in pregnancy. Memphis Ctr. for Reprod. Health,

2020 WL 4274198; see Tennessee Code Annotated §§ 39–15–216 ("Section 216"). The

district judge also preliminary enjoined the defendants from enforcing a Tennessee law

that prohibits a physician from performing an abortion upon a pregnant woman if the

physician knows that the abortion is sought because of the sex, race, or Down syndrome

diagnosis of the unborn child. Memphis Ctr. for Reprod. Health, 2020 WL 4274198; see

Tennessee Code Annotated §§ 39–15–217 ("Section 217"). The Sixth Circuit granted the

defendants' motion to stay the preliminary injunction as to Tennessee's Section 217 only.

Memphis Ctr. for Reprod. Health v. Slatery, No. 20-5969, Doc. 33. Thus, the preliminary

injunction of Tennessee's Section 216, i.e., the preliminary injunction of the law that

criminalizes pre-viability abortions once a fetal heartbeat is detected, remains in effect

while that case is pending before the Sixth Circuit. Oral argument in that case is scheduled

for April 29, 2021. Id. Doc. 78.




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       "[T]he power to stay proceedings is incidental to the power inherent in every court

to control the disposition of the causes on its docket with economy of time and effort for

itself, for counsel, and for litigants." Landis v. North American Co., 299 U.S. 248, 254

(1936). A district court "has broad discretion to stay proceedings as an incident to its

power to control its own docket." Clinton v. Jones, 520 U.S. 681, 706 (1997). Here, and

using its discretion, this Court finds that waiting for the decisions from (1) the en banc

Court in Preterm-Cleveland v. Himes, No. 18-3329, and any analysis of the impact, if any,

of the plurality opinion in June Medical on the undue burden test that courts apply in

deciding challenges to abortion-related laws and regulations, and (2) the panel in

Memphis Ctr. for Reprod. Health v. Slatery, No. 20-5969, and any analysis of the

constitutionality of Tennessee's Section 216, a law that is similar to the Ohio Act, creates

some judicial economy. See Clinton, 520 U.S. at 706; Landis, 299 U.S. at 254.

       In light of the foregoing, it is hereby ORDERED that this matter is STAYED pending

final disposition of all appeals and petitions for certiorari in Preterm-Cleveland v. Himes,

No. 18-3329, and Memphis Ctr. for Reprod. Health v. Slatery, No. 20-5969.

       IT IS SO ORDERED.
                                                 _/s Michael R. Barrett___________
                                                 Michael R. Barrett, Judge
                                                 United States District Court




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